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EXHIBIT A

 

Bid Procedures Order

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE
In re: Chapter 11
ALLIED SYSTEMS HOLDINGS, INC., et al. : Case No. 12-11574 (CSS)

(Jointly Administered)
Re: Docket No.

Debtors.

ORDER (A) APPROVING BID PROCEDURES, (B) APPROVING CURE
PROCEDURES, (C) ESTABLISHING DATE FOR AUCTION AND APPROVING
RELATED PROCEDURES, (D) APPROVING CREDIT BID AND STALKING HORSE
PROTECTIONS, (E) SCHEDULING SALE HEARING AND RELATED
DEADLINES, (F) APPROVING FORM AND MANNER OF
NOTICES, AND (G) GRANTING RELATED RELIEF

This matter coming before the Court on the motion (the “Motion”) pursuant to
Sections 105(a), 363, 365, and 503(b) of title 11 of the United States Code (the “Bankruptcy
Code”), and Rules 2002, 6004, 6006, and 9014 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”), and Rule 6004-1 of the Local Rules of Bankruptcy Practice and
Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local
Rules”), for entry of an order: (i) approving the bid procedures (the “Bid Procedures’’)
substantially in the form attached hereto as Exhibit 1, including the Expense Reimbursement’ as
set forth in the asset purchase agreement (the “Sale Agreement”) between the above-captioned

debtors and debtors in possession (collectively, the “Debtors”), as sellers, and with an New

Allied Acquisition Co. LLC (or its assignee or designee as contemplated by the Sale Agreement)

 

4 The Debtors in these cases, along with the federal tax identification number (or Canadian business number

where applicable) for each of the Debtors, are: Allied Systems Holdings, Inc. (XX-XXXXXXX); Allied Automotive
Group, Inc. (XX-XXXXXXX); Allied Freight Broker LLC (XX-XXXXXXX); Allied Systems (Canada) Company (90-
0169283); Allied Systems, Ltd. (L.P.) (XX-XXXXXXX); Axis Areta, LLC (XX-XXXXXXX); Axis Canada Company
(87568828); Axis Group, Inc, (XX-XXXXXXX); Commercial Carriers, Inc. (XX-XXXXXXX); CT Services, Inc. (38-
2918187); Cordin Transport LLC (XX-XXXXXXX); F.J. Boutell Driveway LLC (XX-XXXXXXX); GACS Incorporated
(XX-XXXXXXX); Logistic Systems, LLC (XX-XXXXXXX); Logistic Technology, LLC (XX-XXXXXXX); QAT, Inc. (59-
2876863); RMX LLC (XX-XXXXXXX); Transport Support LLC (XX-XXXXXXX); and Terminal Services LLC (91-
0847582). The location of the Debtors’ corporate headquarters and the Debtors’ address for service of process is
2302 Parklake Drive, Bldg. 15, Ste. 600, Atlanta, Georgia 30345.

? Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.

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(the “Stalking Horse Purchaser”) an acquisition entity formed by Black Diamond Commercial
Finance, L.L.C. and Spectrum Commercial Finance LLC, in their capacities as “Co-
Administrative Agents” under the First Lien Credit Agreement at the direction of the
BD/Spectrum Requisite Lenders, with respect to the proposed sale (the “Sale”) of substantially
all of the assets (as discussed in greater detail below, the “Purchased Assets’), (ii) scheduling a
hearing (the “Sale Hearing”) on the Sale and setting objection and bidding deadlines with
respect to the Sale, (iii) approving the form and manner of notice of an auction for the Purchased
Assets (the “Auction”), (iv) establishing procedures to determine cure amounts and deadlines for
objections for certain contracts and leases to be assumed and assigned by the Debtors (the
“Assumed and Assigned Agreements”), and (v) granting related relief; the Court having
reviewed the Motion and conducted a hearing to consider the relief requested therein (the “Bid
Procedures Hearing”); and the Court having considered the statements of counsel and the
evidence presented at the Bid Procedures Hearing;

IT IS HEREBY FOUND AND DETERMINED THAT:

A. The Debtors have articulated good and sufficient reasons for, and the best
interests of its estate will be served by, this Court granting the relief requested in the Motion,
including approval of (i) the Bid Procedures, attached hereto as Exhibit 1; (ii) the Expense
Reimbursement; (iii) the form and manner of notice of the Sale Notice, substantially in the form
attached hereto as Exhibit 2; and (iv) the form and manner of the Cure Notice, substantially in
the form attached hereto as Exhibit 3.

B. The proposed Sale Notice and the proposed Cure Notice are good,
appropriate, adequate and sufficient, and are reasonably calculated to provide all interested

parties with timely and proper notice of the Sale and the assumption and assignment of any

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executory contracts and unexpired leases contemplated in the Successful Bid, and no other or
further notice is required for the Sale of the Purchased Assets to the Stalking Horse Purchaser (or
the Successful Bidder, as applicable) and the assumption and assignment of any executory
contracts and unexpired leases contemplated in the Successful Bid.

Cc, The Debtors have articulated good and sufficient reasons for, and the best
interests of their estates will be served by, this Court scheduling an Auction and considering
approval of the Sale and the transfer of the Purchased Assets to the Stalking Horse Purchaser or
Successful Bidder free and clear of all liens, claims, interests and encumbrances pursuant to
section 363 of the Bankruptcy Code.

D. The Expense Reimbursement to be paid to the Stalking Horse Purchaser,
under the circumstances in the Sale Agreement, is: (i) an actual and necessary cost and super-
priority administrative expense of preserving the Debtors’ estates, within the meaning of section
503(b) of the Bankruptcy Code; (ii) commensurate to the real and substantial benefits conferred
upon the Debtors’ estate by the Stalking Horse Purchaser; (iii) reasonable and appropriate in
light of the size and nature of the proposed Sale and comparable transactions; and (iv) necessary
to induce the Stalking Horse Purchaser to continue to pursue the Sale.

E. Moreover, the Expense Reimbursement is an essential inducement and
condition relating to the Stalking Horse Purchaser’s entry into, and continuing obligations under,
the Sale Agreement. The Expense Reimbursement induced the Stalking Horse Purchaser to
submit a bid that will serve as a minimum or floor bid upon which the Debtors, their creditors
and other Potential Bidders can rely. The Stalking Horse Purchaser has provided a material
benefit to the Debtors and its creditors by increasing the likelihood that the best possible price for

the Purchased Assets will be received. Accordingly, the Expense Reimbursement is reasonable

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and appropriate and represents the best method for maximizing value for the benefit of the

Debtors’ estates.

FURTHER, IT IS HEREBY ORDERED THAT:
ql: The Motion is GRANTED as set forth herein.

hi The Bid Procedures are hereby approved, are incorporated herein by
reference, and shall govern all bids and bid proceedings relating to the Purchased Assets. The
Debtors are authorized to take any and all actions necessary or appropriate to implement the Bid
Procedures.

S All Qualified Bids (as such term is defined in the Bid Procedures) must be

received prior to 12:00 p.m. (Prevailing Eastern Time) on [ ], 2013

 

(the “Bid Deadline”), by each of the following: (i) the Debtors, Allied Systems Holdings, Inc.,
2302 Parklake Drive, Bldg. 15, Ste. 600, Atlanta, Georgia 30345 (Attn: John Blount, Esq.); (ii)
co-counsel to the Debtors, Troutman Sanders LLP, Bank of America Plaza, 600 Peachtree
Street, Suite 5200, Atlanta, Georgia 30308 (Attn: Jeffrey W. Kelley, Esq.) and Richards, Layton
& Finger, P.A., One Rodney Square, 920 N. King Street, Wilmington, Delaware 19801 (Attn:
Mark D. Collins, Esq. and Christopher M. Samis, Esq.); (iii) the Debtors’ investment banker,
Rothschild Inc., 1251 Ave of the Americas, 51st Fl, New York, New York 10020 (Attn: Stephen
Antinelli); (iv) the Office of the United States Trustee (the “U.S. Trustee”), 844 King Street,
Suite 2207, Wilmington, Delaware, 19801 (Attn: David L. Buchbinder, Esq.); and (v) co-
counsel to the Official Committee of Unsecured Creditors (the “Committee”), Sidley Austin
LLP, 787 Seventh Avenue, New York, New York 10019 (Attn: Michael G. Burke, Esq.) and
Sullivan Hazeltine Allinson LLC, 901 North Market Street, Suite 1300, Wilmington, Delaware
19801 (Attn: William D. Sullivan, Esq.). A Bid received after the Bid Deadline shall not

constitute a Qualified Bid.

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4. The Sale Agreement is a Qualified Bid, and the Stalking Horse Purchaser
is a Qualified Bidder, for all purposes and requirements pursuant to the Bid Procedures,
notwithstanding the requirements that a Potential Bidder must satisfy to be a Qualified Bidder.

a The Debtors shall have the right, but not the obligation, to deem any
lender holding undisputed claims under the Prepetition First Lien Loan Agreement in excess of
the principal amount of $10 million as a Qualified Bidder, and to permit such Qualified Bidder
to participate in the Auction (as defined below) without prior compliance with the requirements
that a Potential Bidder must satisfy to be a Qualified Bidder, provided however, that any offer
submitted by such Qualified Bidder at or prior to the Auction shall otherwise comply with the
requirements that must be satisfied in order to be deemed a Qualified Bid. Any Good Faith
Deposit accompanying a Written Offer that the Debtors, after consultation with the Committee,
determines not to be a Qualified Bid shall be returned promptly following such determination.

6. In their discretion, the Debtors, in consultation with the Committee, may
choose to either consider or disregard Written Offers for an insubstantial portion of the Assets.
Between the Bid Deadline and the Auction, the Debtors may negotiate with or seek clarification
of any Written Offer or Qualified Bid from a Qualified Bidder (including for the purpose of
having such Written Offer modified, amended or supplemented so as to become a Qualified Bid).
Each Qualified Bidder shall provide to the Debtors any information reasonably required by the
Debtors (which the Debtors may share with the Committee) in connection with the evaluation of
a Written Offer or Qualified Bid within two (2) business days after such request is made.
Without the consent of the Debtors, a Qualified Bidder may not amend, modify or withdraw its
Qualified Bid, except for proposed amendments to increase the amount or otherwise improve the

terms of the Qualified Bid, during the period that such Qualified Bid is required to remain

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irrevocable and binding.

7. As promptly as practicable after a Potential Bidder delivers the documents
and items required to submit above, and after consultation with the Committee, but in any event
no later than one (1) business day prior to the Auction, the Debtors shall determine in their
business judgment, and shall notify each Potential Bidder whether (i) such Potential Bidder is a
Qualified Bidder and (ii) such Potential Bidder’s Written Offer is a Qualified Bid. Each
Qualified Bidder and the Committee will be given access to all Qualified Bids at such time. In
evaluating any Qualified Bid or subsequent bid, the Debtors shall treat comparable credit bids
and cash bids as equivalent and no credit bid shall be considered inferior to a comparable cash
bid because it is a credit bid.

8. Each Qualified Bidder shall be deemed to acknowledge and represent that
(i) it has had an opportunity to conduct any and all desired due diligence regarding the Assets
prior to making its Qualified Bid, (ii) it has relied solely upon its own independent review,
investigation and/or inspection of any documents and/or the Assets in making its Qualified Bid,
and (iii) it did not rely upon any written or oral statements, representations, promises, warranties
or guaranties whatsoever, whether express, implied, by operation of law or otherwise, regarding
the Purchased Assets or the completeness of any information provided in connection therewith or
the Auction, except as expressly stated in these Bid Procedures or, as to the Successful Bidder, as
set forth in the applicable agreement.

9, In the event that two (2) or more Qualified Bids are received, the Debtors
shall conduct an Auction of the Purchased Assets. The Auction shall be held on

| ], 2013 at [_:_] [].m. (Prevailing Eastern Time) at the offices of

Richards, Layton and Finger, P.A. located at 920 N. King Street, Wilmington, DE 19801 and

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continue thereafter until completed. If there is only one (1) Qualified Bid submitted by the Bid
Deadline (a “Sole Qualified Bid”), the Debtors shall not hold the Auction and instead shall
request at the Sale Hearing that the Court approve the Sole Qualified Bid.

10. The Auction will be conducted openly, but only the Debtors, the Stalking
Horse Purchaser, any representative of the Committee, any creditor of the Debtors that has
provided written notice to the Debtors’ counsel at least five (5) business days in advance of the
Auction of his, her, or its intent to attend the Auction, any Qualified Bidder who has timely
submitted a Qualified Bid, and Duff & Phelps Canada Restructuring Inc., the information officer
appointed in the Canadian recognition proceeding, together with professional advisors to each of
the foregoing, may attend the Auction. The Auction will be transcribed. Each Qualified Bidder
participating at the Auction will be required to confirm that it has not engaged in any collusion
with respect to the bidding or the Sale.

11. All Qualified Bidders at the Auction shall be deemed to have consented to
the core jurisdiction of the Court and waived any right to a jury trial in connection with any
disputes relating to the Auction, and the construction and enforcement of the Qualified Bidders’
asset purchase agreement, as applicable.

LZ. The Sale Notice and the Cure Notice, substantially in the forms attached
hereto as Exhibit 2 and Exhibit 3, respectively, are good and sufficient for all purposes.

13. Not later than three (3) business days after the entry of the Bid Procedures
Order, the Debtors will serve copies of the Sale Notice, the Bid Procedures, and the Bid
Procedures Order by mail, postage prepaid to: (i) all entities known to have expressed a bona
Jide interest in acquiring the Purchased Assets (by overnight mail); (11) counsel to the Stalking

Horse Purchaser; (iii) the U.S. Trustee; (iv) known entities holding or asserting a security

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interest in or lien against any of the Purchased Assets; (v) taxing authorities whose rights may be
affected by a sale of the Purchased Assets; (vi) counsel to the Committee; (vii) all Attorneys
General for the states in which the Debtors conduct business; (viii) all parties that have
requested notice pursuant to Bankruptcy Rule 2002 as of the date of the entry of this Order; and
(xi) (1) all parties listed on the Main Service List, the Supplemental Service List (Pensions) and
the Supplemental Service List (Government Tax / Environmental Agencies) in the Canadian
recognition proceeding.

14. —_— Not later than ten (10) days after entry of the Bid Procedures Order, the
Debtors will publish the Sale Notice in the national edition of The Wall Street Journal or The
New York Times,

15. | The Debtors shall prepare and serve on the non-Debtor parties to all
potential Assumed and Assigned Agreements to be assigned to the Stalking Horse Purchaser (or
the Successful Bidder, as applicable) the Cure Notice listing (i) the potential Assumed and
Assigned Agreement(s), and (ii) the Cure Amount(s), if any, no later than five (5) business days
before the Auction, to be assigned to the Stalking Horse Purchaser (or the Successful Bidder, as
applicable). Together with the Cure Notice, the Debtors shall distribute to non-Debtor parties to
all potential Assumed and Assigned Agreements evidence of the Stalking Horse Purchaser’s
ability to comply with section 365 of the Bankruptcy Code (to the extent applicable), including
providing adequate assurance of the Stalking Horse Purchaser’s ability to perform in the future
the Assumed and Assigned Agreements.

16. The Sale Hearing will be held on [ ], 2013 at

 

[__:__] [_].m. (Prevailing Eastern Time) at the United States Bankruptcy Court for the District

of Delaware, located in 824 Market Street, ” Floor, Courtroom 6, Wilmington, DE 19801

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before The Honorable Christopher S. Sontchi. After consultation with the Committee and
subject to prior written approval of the Replacement DIP Agents (as defined in the Replacement
DIP Order), the Debtors may adjourn or continue the Sale Hearing from time to time without
further notice to parties in interest other than by announcement of the adjournment in open court
or on the Court’s calendar on the date scheduled for the Sale Hearing or any adjourned date.

Lif; At the Sale Hearing, the Debtors shall present the results of the Auction to
the Court and seek approval for the Successful Bid and the Backup Bid(s). Following the Sale
Hearing approving the transaction with respect to the Assets to the Successful Bidder, if such
Successful Bidder fails to consummate an approved transaction for any reason, the appropriate
Backup Bidder(s) shall be designated the Successful Bidder and the Debtors shall be authorized
to effect such transaction without further order of this Court. For the avoidance of doubt,
payment of the Expense Reimbursement shall be a condition to the closing of any Alternative
Transaction.

18. Objections to (i) approval of the Sale, including the Sale of the Purchased
Assets free and clear of Liens, Claims and Interests and (ii) objections to the assumption and
assignment of any executory contract or unexpired leases identified on the Cure Notice,
including, but not limited to, objections relating to adequate assurance of future performance of
the Stalking Horse Purchaser, any anti-alienation provision or other restriction on assumption or
assignment, or to the Cure Costs set forth on the Cure Schedule (a “Contract Objection”), must
be in writing, state the basis of such objection with specificity and be filed with this Court and

served so as to be received on or before [ ], 2013 at [_:__] [_].m.

 

(Prevailing Eastern Time) by each of the following: (1) the Debtors, Allied Systems Holdings,

Inc., 2302 Parklake Drive, Bldg. 15, Ste. 600, Atlanta, Georgia 30345 (Attn: John Blount, Esq.);

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(ii) co-counsel to the Debtors, Troutman Sanders LLP, Bank of America Plaza, 600 Peachtree
Street, Suite 5200, Atlanta, Georgia 30308 (Attn: Jeffrey W. Kelley, Esq.) and Richards, Layton
& Finger, P.A., One Rodney Square, 920 N. King Street, Wilmington, Delaware 19801 (Attn:
Mark D. Collins, Esq. and Christopher M. Samis, Esq.); (iii) Rothschild Inc., 1251 Ave of the
Americas, 51st Fl, New York, New York 10020 (Attn: Stephen Antinelli); (iv) the U.S. Trustee,
844 King Street, Suite 2207, Wilmington, Delaware, 19801 (Attn: David L. Buchbinder, Esq.);
(v) co-counsel to the Committee, Sidley Austin LLP, 787 Seventh Avenue, New York, New
York 10019 (Attn: Michael G. Burke, Esq.) and Sullivan Hazeltine Allinson LLC, 901 North
Market Street, Suite 1300, Wilmington, Delaware 19801 (Attn: William D. Sullivan, Esq.).; and
(vi) co-counsel to the Stalking Horse Purchaser, Schulte Roth & Zabel LLP, 919 Third Avenue,
New York, NY 10022 (Attn: Adam Harris, Esq. and David M. Hillman, Esq.) and Landis Rath
& Cobb LLP, 919 Market Street, Suite 1800, Wilmington, DE 19899 (Attn: Adam Landis,
Esq.); provided, however, if the Debtors amend the Cure Notice to add a contract or lease or to
reduce the Cure Amount thereof, except where such reduction was upon mutual agreement of
the parties, the non-Debtor parties to the added contract or lease or to the reduced Cure Amount
contract or lease shall have until ten (10) days after such amendment to submit a Contract
Objection; provided, further however, in the event that the Stalking Horse Purchaser is not the
Successful Bidder for the Purchased Assets, within | |] business days after the conclusion
of the Auction for the Purchased Assets, the Debtors will serve a notice identifying the
Successful Bidder to the non-debtor parties to the Assumed and Assigned Agreements that have
been identified in the Bid of the Successful Bidder and the non-debtor parties to the Assumed
and Assigned Agreements will have until | ], 2013 (the “Adequate Assurance

Objection Deadline”) to object to the assumption, assignment, and/or transfer of such Assumed

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and Assigned Agreement solely on the issue of whether the Successful Bidder can provide
adequate assurance of future performance as required by Section 365 of the Bankruptcy Code
(an “Adequate Assurance Objection’).

19. — Unless an objection to the assumption and assignment of an Assumed and
Assigned Agreement is filed and served before the applicable objection deadline, all
counterparties to the Assumed and Assigned Agreements shall be (i) forever enjoined and barred
from objecting to the proposed Cure Amounts and from asserting any additional cure or other
amounts with respect to the Assumed and Assigned Agreements, and the Debtors, their estates,
the Stalking Horse Purchaser, or the Successful Bidder shall be entitled to rely solely upon the
proposed Cure Amounts set forth in the Cure Notices; (ii) deemed to have consented to the Cure
Amount; and (iii) forever barred and estopped from asserting or claiming against the Debtors,
the Stalking Horse Purchaser or the Successful Bidder that any additional amounts are due or
other defaults exist, that conditions to assignment must be satisfied under such Assumed and
Assigned Agreements, or that there is any objection or defense to the assumption and
assignment of such Assumed and Assigned Agreements.

20, The Debtors are authorized to pay, without further order of the Court, to
the Stalking Horse Purchaser the Expense Reimbursement in the event that such Expense
Reimbursement is payable under the terms of the Sale Agreement, on the terms set forth therein,
The Expense Reimbursement shall be paid as super-priority administrative expenses of the

Debtors pursuant to Section 503(b) of the Bankruptcy Code.

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21. The Court shall retain jurisdiction over any matter or dispute arising from

or relating to the implementation of this Order.

Dated: May _, 2013
Wilmington, Delaware THE HONORABLE CHRISTOPHER 8, SONTCHI
UNITED STATES BANKRUPTCY JUDGE

 

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EXHIBIT 1

Bid Procedures

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
ALLIED SYSTEMS HOLDINGS, INC., et al.', | Case No. 12-11574 (CSS)

(Jointly Administered)
Debtors.

BID PROCEDURES

1. These bid procedures (the “Bid Procedures”) set forth the guidelines and process
by which Alhed Systems Holdings, Inc. (“Allied”) and its affiliated debtors and debtors in
possession (collectively, the “Debtors”) shall market substantially all of their assets (the
“Assets”) for sale to interested parties and conduct a sale of such Assets through a court-
approved auction (the “Auction’”).

2. On | ], 2013, the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) entered its Order (A) Approving Bid Procedures, (B)
Approving Cure Procedures, (C) Establishing Date for Auction and Approving Related
Procedures, (D) Approving Credit Bid and Stalking Horse Protections, (E) Scheduling Sale
Hearing and Related Deadlines, (F) Approving Form and Manner of Notices, and (G) Granting
Related Relief [Docket No. [__]] (the “Bid Procedures Order”), thereby approving these Bid

Procedures and scheduling a hearing on the Debtors’ Sale Motion (as defined below) for

| ], 2013 at [__]:[__] [_].m. (Prevailing Eastern Time) (the “Sale Hearing’).

 

| The Debtors in these cases, along with the federal tax identification number (or Canadian business number

where applicable) for each of the Debtors, are: Allied Systems Holdings, Inc. (XX-XXXXXXX); Allied Automotive
Group, Inc. (XX-XXXXXXX); Allied Freight Broker LLC (XX-XXXXXXX); Allied Systems (Canada) Company (90-
0169283); Allied Systems, Ltd. (L.P.) (XX-XXXXXXX); Axis Areta, LLC (XX-XXXXXXX); Axis Canada Company
(87568828); Axis Group, Inc. (XX-XXXXXXX); Commercial Carriers, Inc. (XX-XXXXXXX); CT Services, Inc, (38-
2918187); Cordin Transport LLC (XX-XXXXXXX); F.J, Boutell Driveway LLC (XX-XXXXXXX); GACS Incorporated
(XX-XXXXXXX); Logistic Systems, LLC (XX-XXXXXXX}; Logistic Technology, LLC (XX-XXXXXXX); QAT, Inc. (59-
2876863); RMX LLC (XX-XXXXXXX)}; Transport Support LLC (XX-XXXXXXX); and Terminal Services LLC (91-
0847582). The location of the Debtors’ corporate headquarters and the Debtors’ address for service of process is
2302 Parklake Drive, Bldg. 15, Ste. 600, Atlanta, Georgia 30345.

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On | |, 2013, the Ontario Superior Court of Justice (Commercial List) (the
“Canadian Court”) granted an Order recognizing the Bid Procedures Order in the proceedings
of the Debtors pursuant to Part IV of the Companies’ Creditors Arrangement Act (Canada). The
Debtors have filed a motion to sell substantially all of their Assets to the entity that submits the
highest or otherwise best offer at the Auction (the “Sale Motion”). The Debtors will seek to
have any Order of the Bankruptcy Court approving the sale of the Assets recognized in Canada
by a further order of the Canadian Court.

3. The Debtors provide these Bid Procedures for use by Potential Bidders (as
defined below) and Qualified Bidders (as defined below) in submitting written bids proposing a
transaction to purchase or otherwise acquire all or any portion of the Assets, and, as necessary,
qualifying for and participating in the Auction. The Debtors seek to enter into one or more
transactions with one or more Qualified Bidders, so long as the individual bid for all of the
Assets by a Qualified Bidder or the bids for less than all of the Assets by two or more Qualified
Bidders, in combination, represent the highest or otherwise best offer for all or substantially all
of the Assets.

A. Important Dates

4, The Debtors shall, in their discretion and in consultation with the Consultation

Party (as defined below):

e Assist Qualified Bidders in conducting their reasonable due diligence
investigations;

e Negotiate, solicit and entertain offers for the sale of the Assets pursuant to the
terms of these Bid Procedures;

e Accept Written Offers (as defined below) from Qualified Bidders until [_]:00
p.m. (Prevailing Eastern Time) on [ ], 2013;

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e Select the Successful Bidder and Backup Bidder(s) (each as defined below) at the
conclusion of the Auction to be held on | ], 2013 at L_: | [_].m.
(Prevailing Eastern Time);

e Seek authority to sell Assets to such Successful Bidder(s) at the Sale Hearing, to
be held before the Bankruptcy Court on | ], 2013 at [_ : | [_].m.
(Prevailing Eastern Time); and

e Seek an Order of the Canadian Court as soon as practicable following the Sale
Hearing: (i) recognizing any sale approval Order granted by the Bankruptcy Court

and (ii) vesting any applicable Assets that are situated in Canada (“Canadian
Assets”) in the applicable Successful Bidder(s).

B. Stalking Horse Agreement

5, On May 17, 2013, the Debtors agreed to a form of asset purchase agreement (the
“Agreement”) with an acquisition entity (or its assignee or designee as contemplated by the
Agreement) (the “Stalking Horse Purchaser’) formed by Black Diamond Commercial Finance,
L.L.C. and Spectrum Commercial Finance LLC, in their capacity as “Administrative Agent”
under the “Amended and Restated First Lien Secured Super-Priority Debtor In Possession and
Exit Credit and Guaranty Agreement, dated as of May 15, 2007 (as amended from time to time,
the “Prepetition First Lien Loan Agreement’). Pursuant to the Agreement, the Stalking Horse
Purchaser shall acquire the Purchased Assets (as defined in the Agreement) under the terms and
conditions set forth therein in exchange for the consideration described in section 2.1 of the
Agreement (the “Purchase Price”). The Purchase Price includes a credit bid pursuant to
Bankruptcy Code § 363(k) on account of a portion of the obligations owed by the Debtors under
the Prepetition First Lien Loan Agreement. The transaction contemplated by the Agreement is
subject to competitive bidding as set forth herein and Bankruptcy Court approval.

C. Assets to be Sold

6. The Debtors seek to sell the Assets as a going concern, provided that a sale so

constituted would yield the highest or otherwise best offer for the Assets.

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D. Confidentiality Agreements and Access to Data Room

ie Any person or entity wishing to bid on any of the Assets (each, a “Potential
Bidder”) must (a) deliver to the Debtors, to the extent not already executed and delivered, a
confidentiality agreement substantially on similar terms as that signed by the Stalking Horse
Purchaser and in form acceptable to the Debtors (such a form is available upon request of the
Debtors) and (b) disclose the identity of the Potential Bidder, including the identity of: (i) the
equity holders and sponsors of the Potential Bidder; provided, however, that if the Potential
Bidder is a publicly traded company then such Potential Bidder will only be required to disclose
those equity holders who hold in excess of 5% of the equity of such Potential Bidder; and (ii) any
guarantors of the obligations of the Potential Bidder in connection with a potential purchase of
the Assets. The Stalking Horse Purchaser (and its respective designees, assignees, and
successors) are automatically deemed to be Potential Bidders that have satisfied the requirements
set forth in the preceding sentence.

8. The Debtors will afford any Potential Bidder who satisfies the requirement set
forth in paragraph 7 such reasonable due diligence access or additional information as may be
reasonably requested by the Potential Bidder that the Debtors, in their reasonable business
judgment, determine to be reasonable and appropriate; provided that if any Potential Bidder is
(or is affiliated with) a competitor of the Debtors, the Debtors, after consultation with the
Consultation Party, will not be required to disclose to such Potential Bidder any trade secrets or
proprietary information unless the confidentiality agreement executed by such Potential Bidder
contains appropriate provisions to ensure that such trade secrets or proprietary information will
not be used for an improper purpose or to gain an unfair competitive advantage. The Debtors

and their advisors will coordinate all reasonable requests for additional information and due

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diligence access from such Potential Bidders. The Debtors shall not be obligated to furnish any
due diligence information after the deadline for the submission of bids. The Debtors, their
advisors and the Consultation Party are not responsible for, and will bear no liability with respect
to, any information obtained by Potential Bidders in connection with due diligence.
Notwithstanding anything contained herein to the contrary, the Debtors in their business
judgment will decide what, if any, diligence information to make available to a particular
Potential Bidder. “Consultation Party” means the professionals and advisors to the official
committee of unsecured creditors appointed in these cases (the “Committee”).
9. Potential Bidders seeking information about the qualification process, should

contact the Debtors’ financial advisor at:

Rothschild Inc.

1251 Avenue of the Americas, 51“ Floor

New York, NY 10020

Attn: Marcelo Messer

Fax: (646) 390-7965

E-mail: marcelomesser@rothschild.com

10. A “Qualified Bidder” is a Potential Bidder (or a combination of Potential Bidders

whose bids for the Assets of the Debtors do not overlap and who agree to have their bids
combined for purposes of the determination of whether such Potential Bidders together constitute
a Qualified Bidder) (i) that delivers a confidentiality agreement as set forth in paragraph 7 above
(unless previously provided), (ii) that delivers by no later than [| ], 2013
financial information and credit-quality support or enhancement that demonstrate, in the
Debtors’ reasonable discretion, in consultation with the Consultation Party, the financial
capability of the Potential Bidder to consummate the proposed transaction for the desired Assets,

(iii) that the Debtors determine, in their reasonable discretion, in consultation with the

Consultation Party, is reasonably likely to submit a bona fide offer for the Assets and will be able

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to consummate such transaction if selected as the Successful Bidder within the time frame set
forth in these Bid Procedures, and (iv) who submits a Qualified Bid as set forth in Section E
below by the Bid Deadline; provided however that the Stalking Horse Purchaser shall be excused
from the requirement in clause (ii) immediately above.

11. Potential Bidders requesting information in connection with their due diligence
should contact the Debtors’ representative at the address provided above.

E. Requirements for a Qualified Bid

 

12. To participate in the Auction, if any, a Qualified Bidder must deliver to the
Debtors a written offer (each, a “Written Offer”), which, in order to be deemed a “Qualified
Bid,” must meet each of the requirements listed below:

1. The consideration must include cash equal to, or in excess of, the sum of the
following:

(a) an amount sufficient to pay the DIP Payment (as defined in section
2.1(a)(i) of the Sale Agreement); plus

(b) an amount equal to the Wind Down Budget Consideration (as defined in
section 2.1(a)(ii) of the Sale Agreement); plus

(c) an amount equal to the Additional Cash Consideration; plus

(d) an amount equal to the Claim Contribution (as defined in section
2.1(a)(ii1) of the Sale Agreement); plus

(e) $5 million; and

In addition, the Qualified Bidder’s bid must provide for the assumption of
the Assumed Liabilities (as defined in the Agreement);

li. Include a good faith deposit (the “Good Faith Deposit’) in the form of a
certified check, wire transfer or such other form of a cash equivalent as is
reasonably acceptable to the Debtors (in consultation with the Consultation
Party) in an amount equal to 10% of the aggregate value of the Qualified
Bidder’s bid;

lil. Be on terms that, in the business judgment of the Debtors (after consultation

with the Consultation Party) are substantially the same or better than the
terms of the Agreement. The Qualified Bidder’s bid must be accompanied

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by a clean, duly executed and binding purchase agreement in a form
acceptable to the Debtors in their reasonable discretion together with a
blacklined copy marked to show all changes from the Agreement with the
Stalking Horse Purchaser filed with the Court at Docket No. [___] and posted
in the data room. A Written Offer must also be accompanied by all exhibits
and schedules contemplated by the purchase agreement, and, to the extent
required by the terms and conditions of such bid, any ancillary agreements
as described in the purchase agreement with all exhibits and schedules
thereto (or term sheets that describe the material terms and provisions of
such agreements) (collectively, with the purchase agreement, a “Modified
Agreement’);

The Modified Agreement must contain a covenant that the Qualified Bidder
shall make all necessary filings under the Hart-Scott-Rodino Antitrust
Improvements Act of 1976, as amended, or other applicable competition
laws or regulations, if any, and pay all costs and expenses of such filings
(including the Debtors’ costs and expenses);

Be accompanied by a list of any executory contracts or unexpired leases that
are to be assumed and/or assigned under such Written Offer and/or specify
whether the final assumption and assignment of such contracts and leases is
subject to any “designation rights” period;

State that the bidder will: (a) consummate and fund the proposed transaction
by no later than the outside Closing Date set forth in the Agreement (the
“Closing Deadline”); and (b) in the event that the bidder is selected as a
Backup Bidder, keep its offer to purchase the Assets open until 5:00 p.m.
Eastern Time) on the fifth (Sth) business day following the date set for the
closing of the sale to the Successful Bidder (the “Backup Bid Closing
Deadline”);

To the extent not previously provided, state that the Qualified Bidder is
financially capable of consummating the transactions contemplated by the
Modified Agreement and any related transaction documents (the “Sale”), and
include written evidence of a firm, irrevocable commitment for financing, or
other evidence of ability to consummate the Sale, that (a) provides for the
Debtors as a third party beneficiary of such commitment for financing and
(b) will allow the Debtors, in consultation with the Consultation Party, to
make a reasonable determination as to the Qualified Bidder’s financial and
other capabilities to consummate the Sale:

Include current audited financial statements and latest unaudited financial
statements of the Qualified Bidder or, if the Qualified Bidder is an entity
formed for the purpose of acquiring the Assets, current audited financial
statements and latest unaudited financial statements of the equity holders or
sponsors of the Qualified Bidder who will guarantee the obligations of the
Qualified Bidder, or such other form of financial disclosure and/or credit-
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quality support or enhancement, if any, that will allow the Debtors, in
consultation with the Consultation Party, to make a reasonable determination
as to the Qualified Bidder’s financial and other capabilities to consummate
the Sale;

Include an acknowledgement and representation that the Qualified Bidder:
(a) has relied solely upon its own independent review, investigation and/or
inspection of any documents and/or the Assets in making its bid; (b) did not
rely upon any written or oral statements, representations, promises,
watranties or guaranties whatsoever, whether express or implied (by
operation of law or otherwise), regarding the Assets or the completeness of
any information provided in connection therewith or the Auction other than
as provided in the Modified Agreement and (c) is not entitled to any expense

reimbursement, break-up fee or similar type of payment in connection with
its bid;

Include evidence of the Qualified Bidder’s ability to comply with section
365 of the Bankruptcy Code (to the extent applicable), including providing
adequate assurance of such Qualified Bidder’s ability to perform in the
future the contracts and leases proposed in its bid to be assumed by the
Debtors and assigned to the Qualified Bidder, in a form that will permit the
immediate dissemination of such evidence to the counterparties to such
contracts and leases;

To the Debtors’ satisfaction, fully disclose (a) the identity of each entity that
will be bidding for the Assets or otherwise participating in connection with
such bid, (b) the terms of any such participation, and (c) if an entity has been
formed for the purpose of acquiring some, or all, of the Assets, the parties
that will bear liability for any breach by such entity, and the financial
capacity of such parties to satisfy such liability;

State that the Written Offer is irrevocable until the later of (a) the closing of
the transaction, if such Qualified Bidder is designated as a Successful Bidder
and (b) the Backup Bidder Closing Deadline;

Must contain provisions allowing the Debtors’ reasonable access to the
Debtors’ books and records for the administration of their bankruptcy cases
if any agreement provides for the purchase of such books and records;

Not contain any due diligence or financing contingencies as determined by
the Debtors in their reasonable discretion;

In the Debtors’ discretion, provide evidence of authorization and approval
from the Qualified Bidder’s board of directors (or comparable governing
body) with respect to the submission, execution, delivery and closing of the
Modified Agreement to the Debtors’ satisfaction;
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XVI. All documentation submitted in support of the Written Offer must be
submitted both in hard copy and electronically;

13. The Agreement with the Stalking Horse Purchaser is automatically deemed a
Qualified Bid and the Stalking Horse Purchaser is automatically deemed a Qualified Bidder.
The Debtors shall have the right, but not the obligation, to deem any lender holding undisputed
claims under the Prepetition First Lien Loan Agreement in excess of the principal amount of $10
million as a Qualified Bidder, and to permit such Qualified Bidder to participate in the Auction
(as defined below) without prior compliance with the requirements of paragraph 12, provided
however, that any offer submitted by such Qualified Bidder at or prior to the Auction shall
comply with the requirements of paragraph 12. Any Good Faith Deposit accompanying a
Written Offer that the Debtors determine not to be a Qualified Bid shall be returned promptly
following such determination,

14. In their discretion, the Debtors, in consultation with the Consultation Party, may
choose to either consider or disregard Written Offers for an insubstantial portion of the Assets.
Between the Bid Deadline and the Auction, the Debtors may negotiate with or seek clarification
of any Written Offer or Qualified Bid from a Qualified Bidder (including for the purpose of
having such Written Offer modified, amended or supplemented so as to become a Qualified Bid).
Each Qualified Bidder shall provide to the Debtors any information reasonably required by the
Debtors (which the Debtor may share with the Consultation Party) in connection with the
evaluation of a Written Offer or Qualified Bid within two (2) business days after such request is
made. Without the consent of the Debtors, a Qualified Bidder may not amend, modify or
withdraw its Qualified Bid, except for proposed amendments to increase the amount or otherwise
improve the terms of the Qualified Bid, during the period that such Qualified Bid is required to

remain irrevocable and binding.

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F, Bid Deadline

15. All Qualified Bids must be received prior to [__:__] [_].m. (Prevailing Eastern

Time) on [ ], 2013 (the “Bid Deadline”), by each of the following:

Debtors:

Debtors’ Counsel:

Debtors’
Financial Advisor:

Allied Systems Holdings, Inc.

2302 Parklake Drive

Building 15, Suite 600

Atlanta, GA 30345

Attn: Scott Macaulay.

Fax: 404-687-568
E-mail:Scott.Macaulay@AlliedAutomotive.com

Troutman Sanders LLP

600 Peachtree St. NE, Suite 5200

Atlanta, GA 30308

Attn: Jeffrey W. Kelley

Fax: (404) 885-3900
E-mail:jeffrey.kelley@troutmansanders.com

 

-and-

Richards, Layton & Finger, P.A.
One Rodney Square

920 North King Street
Wilmington, Delaware 19801
Attn: Mark D. Collins

Fax: (302) 651-7701

E-mail: Collins@rlf.com

Rothschild, Inc.
1251 Avenue of the Americas, 51st Floor
New York, New York 10020
Attn: Todd R. Snyder
Stephen J. Antinelli
Fax: 646.390.8741
E-mail: stephen.antinelli@rothschild.com

G. Determination of Qualified Bidder and Qualified Bids

16. As promptly as practicable after a Potential Bidder delivers the documents and

items required by Section E above, and after consultation with the Consultation Party, but in any

event no later than one (1) business day prior to the Auction, the Debtors shall determine in their

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business judgment, and shall notify each Potential Bidder whether (i) such Potential Bidder is a
Qualified Bidder and (ii) such Potential Bidder’s Written Offer is a Qualified Bid. Each
Qualified Bidder and the Consultation Party will be given access to all Qualified Bids at such
time. In evaluating any Qualified Bid or subsequent bid, the Debtors shall treat comparable
credit bids and cash bids as equivalent and no credit bid shall be considered inferior to a

comparable cash bid because it is a credit bid.

H. “As Is, Where Is”
ER Except as otherwise provided in the applicable agreement, the sale of any or all of

the Assets shall be on an “as is, where is” basis and without representations or warranties of any
kind, nature or description by the Debtors, their agents or their estates except to the extent set
forth in the applicable agreement of the Successful Bidder(s) as approved by the Bankruptcy
Court. Except as otherwise provided in the applicable agreement, and subject to the Bankruptcy
Court’s approval, all of the Debtors’ right, title and interest in and to the Assets subject thereto
shall be sold free and clear of all pledges, liens, security interests, encumbrances, claims,
charges, options and interests thereon and there against (collectively, the “Interests”) subject to
and in accordance with sections 363 and 365 of the Bankruptcy Code (and, with respect to any
Canadian Assets, the terms of the vesting Order of the Canadian Court), with such Interests to
attach to the net proceeds of the sale of the Assets. Each Qualified Bidder shall be deemed to
acknowledge and represent that (a) it has had an opportunity to conduct any and all desired due
diligence regarding the Assets prior to making its Qualified Bid, (b) it has relied solely upon its
own independent review, investigation and/or inspection of any documents and/or the Assets in
making its Qualified Bid, and (c) it did not rely upon any written or oral statements,

representations, promises, warranties or guaranties whatsoever, whether express, implied, by

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operation of law or otherwise, regarding the Assets or the completeness of any information
provided in connection therewith or the Auction, except as expressly stated in these Bid
Procedures or, as to the Successful Bidder, as set forth in the applicable agreement.

I. Auction

18. In the event that two or more Qualified Bids are received, the Debtors shall
conduct an Auction of the Assets. The Auction shall be held on [ Jat[_: ]
[_].-m. (Prevailing Eastern Time) at the offices of Richards, Layton and Finger, P.A. located at
920 N. King Street, Wilmington, DE 19801, and continue thereafter until completed. The
Debtor may not cancel the Auction except in the circumstances described in Section J below.

19. Except as otherwise permitted in the Debtors’ discretion, in consultation with the
Consultation Party, only the (i) Debtors, (ii) the Consultation Party, (iii) the Office of the United
States Trustee for the District of Delaware, (iv) Qualified Bidders, (v) any creditor of the Debtors
that has provided written notice to the Debtors’ counsel at least five (5) business days in advance
of the Auction of his, her, or its intent to attend the Auction, (vi) Duff & Phelps Canada
Restructuring Inc., the information officer appointed in the Canadian recognition proceeding, and
(vii) the respective professionals of the foregoing, shall be entitled to attend the Auction. Only a
Qualified Bidder that submitted a Qualified Bid is eligible to participate in the Auction,

20. The Auction shall be governed by the following procedures:

is Qualified Bidders shall appear at the Auction in person, or through a duly
authorized representative.

il. The Debtors, in their reasonable discretion, and in consultation with the
Consultation Party, may conduct the Auction in the manner that they
determine in their reasonable business judgment will result in the
Successful Bid(s) that will maximize the overall value of the Debtors’
estates. The Debtors, with the prior written consent of the Replacement DIP
Agents (as defined in the Replacement DIP Order) may adopt and modify
rules for the Auction at the Auction that, in the Debtors’ reasonable
business judgment and in consultation with the Consultation Party, will

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better promote the goals of the Auction and that are not inconsistent with
any of the provisions of the Bid Procedures Order, the Bankruptcy Code, or
any order of the Bankruptcy Court, All such rules will provide that: (i) the
Auction procedures must be fairly and evenly administered, and not
intended to cause any participating Qualified Bidder to be disadvantaged in
any material way with respect to the process as compared to any other
participating Qualified Bidder; and (ii) the Consultation Party and all
participating Qualified Bidders shall be entitled to be present for all bidding
with the understanding that the true identity of each bidder (i.e., the
principals submitting each bid) shall be fully disclosed to all other
participating Qualified Bidders and that all material terms of each Qualified
Bid will be fully disclosed to all other bidders throughout the entire
Auction. Each bid by a Qualified Bidder at the Auction, if not inconsistent
with the provisions of these Bid Procedures, shall be deemed to constitute a
Qualified Bid. The deadlines set forth in these Bid Procedures, including
the deadlines set forth in section 4 above, shall not be extended without the
prior written consent of the Replacement DIP Agents.

The Debtors will arrange for the actual bidding at the Auction to be
transcribed.

Each Qualified Bidder participating in the Auction will be expected to
confirm at the Auction that it has not engaged in any collusion regarding
these Bid Procedures with any other Qualified Bidder, the Auction or any
proposed transaction relating to the Assets or a portion thereof.

At least one day in advance of the Auction, the Debtors will notify all
Qualified Bidders of the highest or otherwise best Qualified Bid (the
“Opening Bid”), as determined by the Debtors in consultation with the
Consultation Party.

The Auction will begin initially with the Opening Bid and shall proceed
thereafter in minimum increments of at least $500,000, with the specific
increments for each round of bidding to be announced on the record at the
Auction.

All Qualified Bidders shall have the right, at any time, to request that the
Debtors announce, subject to any potential new bids, the then current
highest or otherwise best bid.

In the Debtors’ discretion and upon consultation with the Consultation
Party, all Qualified Bidders shall have the right to submit additional bids
and make additional modifications to their purchase agreement or Modified
Agreement, as applicable, at the Auction: provided, however, that any such
modifications to a purchase agreement or Modified Agreement, on an
aggregate basis and viewed in whole, shall not be less favorable to the

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Debtors as determined by the Debtors, and in consultation with the
Consultation Party.

Upon conclusion of the bidding, the Auction shall be closed, and the
Debtors shall, as soon as practicable thereafter, and after consultation with
the Consultation Party, identify and determine in its reasonable business
judgment the highest or otherwise best Qualified Bid for the Assets (each, a
“Successful Bid” and the entity or entities submitting such Successful Bid,
each, a “Successful Bidder”), and advise the Qualified Bidders of such
determination, and require the Successful Bidder to deliver its executed
purchase agreement or Modified Agreement (together, the “Successful
Purchase Agreement”) and to deposit an amount equal to at least 10% of
the aggregate cash components of its Successful Bid in the form of a
certified check, wire transfer or such other form of a cash equivalent as is
reasonably acceptable to the Debtors (in consultation with the Consultation
Party) or such other form as approved by the Court (the “Successful Bidder
Deposit”) (provided that such Successful Bidder’s Good Faith Deposit shall
be applied and credited towards such Successful Bidder Deposit) within
two (2) business days after conclusion of the Auction (unless the closing of
the transaction reflected in the Successful Bid occurs prior to such time),
but in no event later than the commencement of the Sale Hearing; provided
further that the Stalking Horse Purchaser shall not be required to provide
the Successful Bidder Deposit if the Agreement is the Successful Purchase
Agreement.

In addition, the Debtors will determine, after consultation with the
Consultation Party, which Qualified Bid, if any, is the next highest or
otherwise best Qualified Bid and designate such Qualified Bid as a
“Backup Bid” in the event the Successful Bidder fails to consummate the
contemplated transaction. A Qualified Bidder that submitted a Qualified
Bid that is designated a Backup Bid is a “Backup Bidder.”

At the conclusion of the Auction, the Debtors may request, and upon such
request the Successful Bidder and the Backup Bidder shall, recite on the
record of the Auction any and all key terms of the Successful Bid and the
Backup Bid, respectively, to ensure the accuracy of the final bids and to aid
in the final documentation of the Sale.

Following the conclusion of the Auction for the sale of substantially all of
the Assets or the closing of the Sale, as the case may be, the Debtors, after
consultation with the Consultation Party, may resume bidding pursuant to
such procedures determined by the Debtors in their discretion, and in
consultation with the Consultation Party, for the sale of discrete Assets not
sold to the Successful Bidder.

All Qualified Bidders at the Auction shall be deemed to have consented to
the core jurisdiction of the Bankruptcy Court and waived any right to a jury

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trial in connection with any disputes relating to the Auction, and the
construction and enforcement of the Qualified Bidders’ asset purchase
agreement, as applicable. All Qualified Bidders at the Auction shall be
deemed to have consented to the jurisdiction of the Canadian Court with
respect to the vesting of any Canadian Assets in the applicable Successful
Bidder(s).
J. Sole Qualified Bid
21. If there is only one Qualified Bid submitted by the Bid Deadline (a “Sole
Qualified Bid”), the Debtors shall not hold the Auction and instead shall request at the Sale

Hearing that the Bankruptcy Court approve the Sole Qualified Bid.

K. Sale Hearing

22. The Sale Hearing will be held on [ ], 2013 at [_:__| [_].m.

(Prevailing Eastern Time) at the United States Bankruptcy Court for the District of Delaware,
located in 824 Market Street, Courtroom 6, Wilmington, DE 19801. After consultation with the
Consultation Party and subject to prior written approval of the Replacement DIP Agents, the
Debtors may adjourn or continue the Sale Hearing from time to time without further notice to
parties in interest other than by announcement of the adjournment in open court or on the
Bankruptcy Court’s calendar on the date scheduled for the Sale Hearing or any adjourned date.
At the Sale Hearing, the Debtors shall present the results of the Auction to the Bankruptcy Court
and seek approval for the Successful Bid and the Backup Bid(s). As soon as practicable
following the granting of any sale approval Order by the Bankruptcy Court, the Debtors will seek
recognition of such sale approval Order by the Canadian Court. In the course of seeking such
recognition, the Debtors will seek a vesting Order in respect of any applicable Canadian Assets
confirming that such Canadian Assets vest in the Successful Bidder free and clear of all Interests

upon the consummation of the approved transaction.

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23. Following the Sale Hearing approving the transaction with respect to the Assets to
the Successful Bidder, if such Successful Bidder fails to consummate an approved transaction for
any reason, the appropriate Backup Bidder(s) shall be designated the Successful Bidder and the
Debtors shall be authorized to effect such transaction without further order of the Bankruptcy
Court or the Canadian Court. The Successful Bidder and Backup Bidder (if any) should be
represented by counsel at the Sale Hearing.

L. Consummation of the Purchase

A. (i) Closing Deadline

24. The Successful Bidder shall consummate the sale transaction contemplated by the
Successful Bid (the “Purchase”) on or before the Closing Deadline. Subject to the terms of the
Successful Purchase Agreement and the Replacement DIP Order,’ the Debtors may, in
consultation with the Consultation Party, extend the Closing Deadline from time to time in their
reasonable business judgment. If a Successful Bidder successfully consummates an approved
transaction by the Closing Deadline, its Successful Bidder Deposit shall be applied to the
purchase price in such transaction.

25. If the Successful Bidder either fails to consummate the Purchase on or before the
Closing Deadline, breaches the Successful Purchase Agreement, or otherwise fails to perform,
the Debtors may, in their business judgment, and in consultation with the Consultation Party, and
without further order of the Bankruptcy Court, deem the Successful Bidder to be a “Defaulting

Buyer,” at which time the Successful Bid shall be deemed rejected.

 

; The “Replacement DIP Order” means the “Order Pursuant to 11 U.S.C §§ 105, 361, 362, 363(c),

364(c)(1), 364(c)(2), 364(c)(3), 364(d)(1), 364(e), 503(b) and 507(a), Fed. R. Bankr. P. 2002, 4001 and 9014 and
Del. Bankr. L.R. 4001-2: (i) Authorizing Debtors to (A) Obtain Postpetition Secured Replacement DIP Financing
and (b) Use Cash Collateral; (ii) Granting Superpriority Liens and Providing for Superpriority Administrative
Expense Status; (iii) Granting Adequate Protection To Prepetition Secured Lenders; (iv) Modifying Automatic Stay;
and (v) Scheduling a Final Hearing Pursuant to Bankruptcy Rules 4001(b) and (c)” entered on May [__], 2013 (Dkt

No. [_]).

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26. The Debtors shall be entitled to (i) retain and apply the Successful Bidder Deposit
as part of the Debtors’ damages resulting from the breach or failure to perform by the Defaulting
Buyer, and, (ii) subject to any limitation on damages set forth in the purchase agreement between
the Defaulting Buyer and the Debtors, seek specific performance and all available damages from
such Defaulting Buyer occurring as a result of such Defaulting Buyer’s failure to perform.

B. (ii) Backup Purchase

27. Upon a determination by the Debtors, after consultation with the Consultation
Party, that the Successful Bidder is a Defaulting Buyer, the Debtors will be authorized, but not
required, to consummate a sale transaction with the Backup Bidder on the terms and conditions
of the Backup Bid (the “Backup Purchase”) without further order of the Bankruptcy Court
provided that the Bankruptcy Court approves such Backup Purchase at the Sale Hearing.

28. lf a Backup Bidder consummates a Backup Purchase, the Good Faith Deposit of
such Backup Bidder will be applied to the purchase price in such transaction. On an as-needed
basis, the Debtors, in the exercise of their business judgment and after consultation with the
Consultation Party, shall determine an alternative Closing Deadline for the Backup Purchase
provided that such Closing Deadline shall not be later than the Backup Bid Closing Deadline. In
the event that the Debtors seek to consummate a Backup Purchase with a Backup Bidder and
such Backup Bidder fails to consummate the Backup Purchase on or before the alternative
Closing Deadline, breaches its purchase agreement or Modified Agreement or otherwise fails to
perform, the Debtors may, in their business judgment and after consultation with the
Consultation Party, and without further order of the Bankruptcy Court or the Canadian Court,
deem such Backup Bidder to be a Defaulting Buyer and pursue the same remedies as set forth in

paragraph 26 above (including, but not limited to, retaining and applying the Backup Bidder’s

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Good Faith Deposit as part of the Debtors’ damages resulting from the breach or failure to
perform by the Backup Bidder).

M. Return of Good Faith Deposits

 

29. Good Faith Deposits of all Qualified Bidders shall be held in an escrow account.
Except for the Successful Bidder and the Backup Bidder(s), the Debtors shall return the Good
Faith Deposits of all Qualified Bidders that submit Written Offers no later than three (3) business
days after the conclusion of the Auction. The Good Faith Deposit of any Backup Bidder shall be
returned to the Backup Bidder on the earlier to occur of (a) the Backup Bidder Closing Deadline

or (b) two (2) business days after the consummation of the Sale to the Successful Bidder.

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EXHIBIT 2

Sale Notice

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
ALLIED SYSTEMS HOLDINGS, INC.,, et al.', Case No. 12-11574 (CSS)

(Jointly Administered)
Re: Docket No.

Debtors.

NOTICE OF BID DEADLINE, AUCTION, AND SALE
HEARING IN CONNECTION WITH THE SALE OF
SUBSTANTIALLY ALL OF THE DEBTORS’ ASSETS

NOTICE IS HEREBY GIVEN as follows:

1. On May 17, 2013, the above-captioned debtors and debtors-in-possession
(collectively, the “Debtors”) filed a motion seeking approval of, among other things, (a) bid
procedures (the “Bid Procedures”) in connection with the sale (the “Sale”) of substantially all of
the Debtors’ assets (the “Purchased Assets”), (b) procedures to determine cure amounts and
deadlines for objections to certain contracts and leases to be assumed and assigned by the
Debtors, (c) the date, time, and place for a sale hearing (the “Sale Hearing”) and for objections
to the Sale, and (d) related relief with the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”). By order dated | j, 2013 [Docket No. I,
the Bankruptcy Court approved the Bid Procedures (the “Bid Procedures Order”).’

2. The Debtors prepared a form of asset purchase agreement (the “Agreement’”}
with an acquisition entity (or its assignee or designee as contemplated by the Sale Agreement)
(the “Stalking Horse Purchaser”) formed by Black Diamond Commercial Finance, L.L.C. and
Spectrum Commercial Finance LLC, in their capacities as “Co-Administrative Agents” under the
First Lien Credit Agreement for the sale of the Purchased Assets free and clear of all pledges,
liens, security interests, encumbrances, claims, charges, options, and interests thereon to the
maximum extent permitted by Section 363 of the Bankruptcy Code, but as set forth in the Bid
Procedures, the sale of the Purchased Assets remains subject to competing offers from any
prospective bidder that submits a Qualified Bid.

 

' The Debtors in these cases, along with the federal tax identification number (or Canadian business number

where applicable) for each of the Debtors, are: Allied Systems Holdings, Inc. (XX-XXXXXXX); Allied Automotive
Group, Inc, (XX-XXXXXXX); Allied Freight Broker LLC (XX-XXXXXXX); Allied Systems (Canada) Company (90-
0169283); Allied Systems, Ltd. (L.P.) (XX-XXXXXXX); Axis Areta, LLC (XX-XXXXXXX); Axis Canada Company
(87568828); Axis Group, Inc. (XX-XXXXXXX); Commercial Carriers, Inc. (XX-XXXXXXX); CT Services, Inc. (38-
2918187); Cordin Transport LLC (XX-XXXXXXX); F.J. Boutell Driveway LLC (XX-XXXXXXX); GACS Incorporated
(XX-XXXXXXX); Logistic Systems, LLC (XX-XXXXXXX); Logistic Technology, LLC (XX-XXXXXXX); QAT, Inc. (59-
2876863); RMX LLC (XX-XXXXXXX); Transport Support LLC (XX-XXXXXXX); and Terminal Services LLC (91-
0847582). ‘The location of the Debtors’ corporate headquarters and the Debtors’ address for service of process is
2302 Parklake Drive, Bldg. 15, Ste. 600, Atlanta, Georgia 30345,

; Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Bid

Procedures Order.

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3: All interested parties are invited to submit a Qualified Bid and to make offers to
purchase the Purchased Assets in accordance with the terms of the Bid Procedures and the Bid
Procedures Order. The Bid Deadline is [ ], [___], 2013, at 12:00 p.m. (Prevailing
Eastern Time). Requests for any other information concerning the Bid Procedures or the Sale
should be directed by written request to the undersigned Debtors’ counsel.

4, Pursuant to the Bid Procedures Order, in the event the Debtors receive one or
more Qualified Bids in addition to the bid of the Stalking Horse Purchaser on or before the Bid
Deadline, the Debtors shall conduct the Auction for the purpose of determining the highest and
best bid for the Purchased Assets. Only (a) the Debtors and their counsel, (b) the Stalking Horse
Purchaser and its counsel, (c) other Qualified Bidders and their counsel, (d) any creditor of the
Debtors that has provided written notice to the Debtors’ counsel at least five (5) business days in
advance of the Auction of his, her, or its intent to attend the Auction, (e) professionals and
advisors of the Committee, and (f) representatives of the Office of the U.S. Trustee, shall be
permitted to attend the Auction and only the Stalking Horse Purchaser and other Qualified
Bidders may be entitled to make any subsequent Qualified Bids at the Auction. The Auction will
be held at | ], on | ___], 2013, at 10:00 a.m. (Prevailing Eastern
Time), or at such other place and time as the Debtors shall notify all parties that submitted
Qualified Bids, or that are otherwise entitled to attend the Auction.

5. At the Sale Hearing on | ] L__], 2013, at [_ :_|.m. (Prevailing
Eastern Time) or such other time as the Bankruptcy Court shall determine, the Debtors intend to
seek the Bankruptcy Court’s approval of the sale of the Purchased Assets and the assumption and
assignment of certain unexpired leases and executory contracts (collectively, the “Assumed and
Assigned Agreements”) to the Stalking Horse Purchaser pursuant to the terms of the Sale
Agreement, or to the Successful Bidder at the Auction, as applicable. In determining the
Successful Bidder, in addition to the amount of cash or cash equivalent consideration offered, the
Debtors will consider, among other factors, the assumption of liabilities contemplated by each
Qualified Bid. The Sale Hearing will be held before the Honorable Christopher 8. Santchi, at the
United States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th Floor,
Wilmington, Delaware, 19801.

6. At the Sale Hearing, the Bankruptcy Court may enter such orders as it deems
appropriate under applicable law and as required by the circumstances and equities of these
Chapter 11 cases. Objections, if any, to the Sale of the Purchased Assets or the assumption and
assignment of the Assumed and Assigned Agreements pursuant to the terms of the Sale
Agreement reached between the Debtors and the Stalking Horse Purchaser or the Successful
Bidder, as the case may be, shall be in writing, shall conform to the Federal Rules of Bankruptcy
Procedure and the Local Rules of the Bankruptcy Court for the District of Delaware, shall set
forth the name of the objecting party, the nature and amount of any claims or interests held or
asserted against the Debtors’ estate or properties, the basis for the objection and the specific
grounds therefore, and shall be filed with the Bankruptcy Court by 4:00 p.m. (Prevailing
Eastern Time) on [ ___], 2013, and be served upon: (i) co-counsel to the Debtors,
Troutman Sanders LLP, Bank of America Plaza, 600 Peachtree Street, Suite 5200, Atlanta,
Georgia 30308 (Attn: Jeffrey W. Kelley, Esq.) and Richards, Layton & Finger, P.A., One
Rodney Square, 920 N. King Street, Wilmington, Delaware 19801 (Attn: Mark D, Collins, Esq.
and Christopher M. Samis, Esq.); (ii) Rothschild Inc., 1251 Ave of the Americas, 51st Fl, New

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York, New York 10020 (Attn: Stephen Antinelli); (iii) the U.S. Trustee, 844 King Street, Suite
2207, Wilmington, Delaware, 19801 (Attn: David L. Buchbinder, Esq.); (iv) co-counsel to the
Committee, Sidley Austin LLP, 787 Seventh Avenue, New York, New York 10019 (Attn:
Michael G. Burke, Esq.) and Sullivan Hazeltine Allinson LLC, 901 North Market Street, Suite
1300, Wilmington, Delaware 19801 (Attn: William D. Sullivan, Esq.); and (v) co-counsel to the
Stalking Horse Purchaser, Schulte Roth & Zabel LLP, 919 Third Avenue, New York, NY 10022
(Attn: Adam Harris, Esq. and David M. Hillman, Esq.) and Landis Rath & Cobb LLP, 919
Market Street, Suite 1800, Wilmington, DE 19899 (Attn: Adam Landis, Esq.).

Dated: , 2013

Wilmington, Delaware

RLF1 8624108v.1

 

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Counsel for Debtors
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EXHIBIT 3

Cure Notice

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ALLIED SYSTEMS HOLDINGS, INC., ef al.', | Case No. 12-11574 (CSS)

(Jointly Administered)
Re: Docket No.

Debtors.

NOTICE OF DEBTORS’ INTENT TO ASSUME AND ASSIGN CERTAIN
LEASES AND EXECUTORY CONTRACTS AND FIXING OF CURE AMOUNTS

PLEASE TAKE NOTICE that on May 17, 2013, the above-captioned debtors and
debtors-in-possession (collectively, the “Debtors”) filed a motion seeking approval of, among
other things, (a) bid procedures (the “Bid Procedures”) in connection with the sale of
substantially all of the Debtors’ assets (the “Purchased Assets”), (b) procedures to determine
cure amounts and deadlines for objections to certain contracts and leases to be assumed and
assigned by the Debtors, and (c) related relief (the “Motion”) with the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court’). By order dated |
__|, 2013, the Bankruptcy Court approved the Bid Procedures (the “Bid Procedures Order’).
A copy of the Bid Procedures Order is attached hereto as Exhibit A.”

PLEASE TAKE FURTHER NOTICE that if the Debtors receive more than one Qualified

Bid, the Debtors shall conduct an auction (the “Auction’’) to determine the highest and best bid

 

The Debtors in these cases, along with the federal tax identification number (or Canadian business number

where applicable) for each of the Debtors, are: Allied Systems Holdings, Inc. (XX-XXXXXXX); Allied Automotive
Group, Inc. (XX-XXXXXXX); Allied Freight Broker LLC (XX-XXXXXXX); Allied Systems (Canada) Company (90-
0169283); Allied Systems, Ltd. (L.P.) (XX-XXXXXXX); Axis Areta, LLC (XX-XXXXXXX); Axis Canada Company
(87568828); Axis Group, Inc. (XX-XXXXXXX); Commercial Carriers, Inc. (XX-XXXXXXX); CT Services, Inc. (38-
2918187); Cordin Transport LLC (XX-XXXXXXX); F.J. Boutell Driveway LLC (XX-XXXXXXX); GACS Incorporated
(XX-XXXXXXX); Logistic Systems, LLC (XX-XXXXXXX); Logistic Technology, LLC (XX-XXXXXXX); QAT, Inc. (59-
2876863); RMX LLC (XX-XXXXXXX); Transport Support LLC (XX-XXXXXXX); and Terminal Services LLC (91-
0847582). The location of the Debtors’ corporate headquarters and the Debtors’ address for service of process is
2302 Parklake Drive, Bldg. 15, Ste. 600, Atlanta, Georgia 30345.

: Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Bid

Procedures Order.

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with respect to the Purchased Assets. The Auction shall commence at [____] a.m. (Prevailing
Eastern Time) on | __J, 2013, at | i

PLEASE TAKE FURTHER NOTICE that if you wish to be notified of the identity of
any Qualified Bidder or Successful Bidder (as defined in the Bid Procedures) after such parties
are identified in accordance with the Bid Procedures, you must fax a written request for such
notification to | |. Such request must specify how the information is to be
transmitted to you. Notice will be provided as soon as practicable, but no later than 9:00 a.m.
(Prevailing Eastern Time) on the day of the Sale Hearing (defined below).

PLEASE TAKE FURTHER NOTICE that at a hearing on | __j, 2013, at
[__]:[__ _].m. (Prevailing Eastern Time) or such other time as the Bankruptcy Court shall
determine (the “Sale Hearing”), the Debtors intend to seek approval of the sale of the Purchased
Assets free and clear of all pledges, liens, security interests, encumbrances, claims, charges,
options, and interests thereon to the maximum extent permitted by Section 363 of the
Bankruptcy Code (the “Sale”) to an acquisition entity (or its assignee or designee as
contemplated by the Sale Agreement) (the “Stalking Horse Purchaser”) formed by Black
Diamond Commercial Finance, L.L.C. and Spectrum Commercial Finance LLC, in their
capacities as “Co-Administrative Agents” under the First Lien Credit Agreement, pursuant to the
terms of an asset purchase agreement with the Stalking Horse Purchaser or to such other party as
is determined pursuant to the Bid Procedures to have submitted the highest and best bid for the
Purchased Assets (the “Successful Bidder”).

PLEASE TAKE FURTHER NOTICE that, pursuant to the Cure Procedures, at the Sale
Hearing, the Debtors intend to seek approval to assume and assign certain unexpired leases and

executory contracts (collectively, the “Assumed and Assigned Agreements”) to the Stalking

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Horse Purchaser or the Successful Bidder, as applicable, pursuant to Section 365 of the
Bankruptcy Code. You have been identified as a party to an Assumed and Assigned Agreement
that the Debtors may seek to assume and assign. The Assumed and Assigned Agreement with
respect to which you have been identified as a non-Debtor party is set forth on Exhibit B
attached hereto. The Stalking Horse Purchaser or the Successful Bidder, as applicable, shall have
until the Closing to remove any executory contract or unexpired lease listed on Exhibit B by
notifying the Debtors in writing of its intent to not take assignment thereof.

PLEASE TAKE FURTHER NOTICE that the Debtors believe that any and all defaults
(other than the filing of these Chapter 11 Cases), actual pecuniary losses, and any amounts due
under the Assumed and Assigned Agreement can be cured and satisfied in full by the payment of
the cure amount, also set forth on Exhibit B attached hereto (the “Cure Amount”).

PLEASE TAKE FURTHER NOTICE that any party objecting to (a) any Cure Amount
and/or (b) the proposed assumption and assignment of any Assumed and Assigned Agreement in
connection with the Sale must file with the Bankruptcy Court and serve an objection (a
“Contract Objection”), in writing, setting forth with specificity any and all obligations that the
objecting party asserts must be cured or satisfied in respect to the Assumed and Assigned
Agreement, and/or any and all objections to the potential assumption and assignment of such
agreement, together with all documentation supporting such cure claim or objection, upon: (i)
co-counsel to the Debtors, Troutman Sanders LLP, Bank of America Plaza, 600 Peachtree Street,
Suite 5200, Atlanta, Georgia 30308 (Attn: Jeffrey W. Kelley, Esq.) and Richards, Layton &
Finger, P.A., One Rodney Square, 920 N. King Street, Wilmington, Delaware 19801 (Attn:
Mark D. Collins, Esq. and Christopher M. Samis, Esq.); (ii) Rothschild Inc., 1251 Ave of the

Americas, 51st Fl, New York, New York 10020 (Attn: Stephen Antinelli); (iii) the U.S. Trustee,

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844 King Street, Suite 2207, Wilmington, Delaware, 19801 (Attn: David L. Buchbinder, Esq.);
(iv) co-counsel to the Committee, Sidley Austin LLP, 787 Seventh Avenue, New York, New
York 10019 (Attn: Michael G. Burke, Esq.) and Sullivan Hazeltine Allinson LLC, 901 North
Market Street, Suite 1300, Wilmington, Delaware 19801 (Attn: William D. Sullivan, Esq.); and
(v) co-counsel to the Stalking Horse Purchaser, Schulte Roth & Zabel LLP, 919 Third Avenue,
New York, NY 10022 (Attn: Adam Harris, Esq.) and Landis Rath & Cobb LLP, 919 Market
Street, Suite 1800, Wilmington, DE 19899 (Attn: Adam Landis, Esq.), so as to be received no
later than 4:00 p.m. (Prevailing Eastern Time) on | __], 2013. Unless the Contract
Objection is timely filed and served, the assumption, sale, and assignment of the applicable
Assumed and Assigned Agreement will proceed without further notice.

PLEASE TAKE FURTHER NOTICE that in the event that the Stalking Horse Purchaser
is not the Successful Bidder for the Purchased Assets, within [__]| business days after the
conclusion of the Auction for the Purchased Assets, the Debtors will serve a notice identifying
the Successful Bidder to the non-debtor parties to the Assumed and Assigned Agreements that
have been identified in the Bid of the Successful Bidder. Any party objecting to the assumption,
assignment, and/or transfer of such Assumed and Assigned Agreement solely on the issue of
whether the Successful Bidder can provide adequate assurance of future performance as required
by Section 365 of the Bankruptcy Code (an “Adequate Assurance Objection”) must file with
the Bankruptcy Court and serve such Adequate Assurance Objection, in writing, on the parties
identified in the previous paragraph so as to be received so as to be received no later than 4:00
p.m. (Prevailing Eastern Time) on [ __], 2013. Unless the Adequate Assurance
Objection is timely filed and served, the assumption, sale, and assignment of the applicable

Assumed and Assigned Agreement will proceed without further notice.

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PLEASE TAKE FURTHER NOTICE that if no Cure Amount is due, or if you agree with
the Cure Amount listed on Exhibit _B, and you do not otherwise object to the Debtors’
assumption, sale, and assignment of such agreement, no further action needs to be taken on your
part.

PLEASE TAKE FURTHER NOTICE that any person or entity receiving this Notice that
fails to file an objection on a timely basis (a) shall be forever enjoined and barred from seeking
any additional amount on account of the Debtors’ cure obligations under Section 365 of the
Bankruptcy Code or otherwise from the Debtors, their estates, the Stalking Horse Purchaser, or
the Successful Bidder on account of the assumption and assignment of such executory contract
or unexpired lease and deemed to have consented to the Cure Amount, and (b) upon approval by
the Bankruptcy Court of the assignment to the Stalking Horse Purchaser or the Successful
Bidder, as applicable, of the Assumed and Assigned Agreement, shall be deemed to have waived
any right to object, consent, condition, or otherwise restrict any such assumption and assignment.

PLEASE TAKE FURTHER NOTICE that a hearing on Contract Objections and
Adequate Assurance Objections may be held (a) at the Sale Hearing, or (b) at such other date
prior to or after the Sale Hearing as the Bankruptcy Court may designate upon request by the
Debtors.

PLEASE TAKE FURTHER NOTICE that the Debtors’ decision to assume and assign the
Assumed and Assigned Agreements is subject to the Court’s approval of and consummation of
the Sale. Absent consummation of the Sale, each Assumed and Assigned Agreement shall not be
deemed either assumed or assigned and shall in all respects be subject to further administration
under the Bankruptcy Code. The designation of any agreement as an Assumed and Assigned

Agreement shall not constitute or be deemed to be a determination or admission by the Debtors

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or the Stalking Horse Purchaser or the Successful Bidder, as applicable, that such document is, in

fact, an executory contract or unexpired lease within the meaning of the Bankruptcy Code (all

rights with respect thereto being expressly reserved).

PLEASE TAKE FURTHER NOTICE that the Debtors reserve the right to remove any

Assumed and Assigned Agreement from any proposed asset sale and to withdraw the request to

assume and assign any such Assumed and Assigned Agreement.

Dated: 2013

Wilmington, Delaware

RLF 1 8624108v.1

 

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Counsel for Debtors
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Exhibit A
Bid Procedures Order

(omitted)

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Assumed and Assigned Agreements

 

 

 

 

  

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